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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

UNITED STATES OF AMERICA,           )
                                    )
            v.                      )                Case No. 1:21-cr-245-AJT-1
                                    )
IGOR Y. DANCHENKO,                  )
                                    )
                  Defendant.        )
____________________________________)

                                            ORDER
       In addition to the Court’s previous Order [Doc. No. 95], it is hereby

       ORDERED that the following prospective jurors are excused for cause: Juror Numbers 12,

13, 28, 81, 107, 108, 121, 147, 192, 194, 198, 205, 221, 235, 265, 268, 285, 296.

       The Clerk is directed to forward a copy of this Order to all counsel of record.




Alexandria, Virginia
October 6, 2022
